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13    Jonathan Shawn Bush
                                                  Attorneys for Defendant,
14                                                InboundProspect, Inc.
15
                          UNITED STATES DISTRICT COURT
16                      SOUTHERN DISTRICT OF CALIFORNIA
17
                                               Case No.: 3:17-cv-02074-JAH-WVG
18     JONATHAN SHAWN BUSH,
       individually and on behalf of all
       others similarly situated,              Assigned to: Hon. William V. Gallo
19
20                   Plaintiff,                JOINT MOTION AND
                                               STIPULATION FOR DISMISSAL
21     v.                                      OF ACTION
22     INBOUNDPROSPECT, INC.
       d/b/a SENIOR MOBILITY
23     CARE,
24                    Defendant.
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      Case No.: 3:17-cv-02074-JAH-WVG                      Bush v. InboundProspect, Inc.
                   JOINT MOTION AND STIPULATION FOR DISMISSAL OF ACTION
     Case 3:17-cv-02074-JAH-WVG Document 13 Filed 02/02/18 PageID.87 Page 2 of 3



 1    TO THIS HONORABLE COURT AND ALL PARTIES AND THEIR
 2    RESPECTIVE COUNSEL OF RECORD:
 3          PLEAST TAKE NOTICE that plaintiff Jonathan Shawn Bush (“Plaintiff”),
 4    individually and on behalf of all others similarly situated, by and through his
 5    counsel, with defendant InboundProspect, Inc. d/b/a Senior Mobility Care
 6    (“Defendant”), by and through its counsel (collectively “the Parties”), hereby
 7    stipulate and jointly move this Honorable Court for dismissal of the above-
 8    captioned action with prejudice as to Plaintiff’s individual claims and without
 9    prejudice as to the claims of the putative class members, pursuant to Fed. R. Civ. P.
10    41(a)(1)(A)(ii). The Parties agree to bear their own fees and costs.
11          IT IS SO STIPULATED AND REQUESTED.
12
13                                           Respectfully Submitted,
14
      Dated: February 2, 2018                KAZEROUNI LAW GROUP
15
16
                                             /s Emily C. Beecham
17
                                             Emily C. Beecham, Esq.
18                                           Attorney for Plaintiff,
                                             Jonathan Shawn Bush
19
20    Dated: February 2, 2018                ROBERT JOHNSON LAW
                                             CORPORATION
21
22
                                             /s Robert Johnson
23
                                             Robert Johnson, Esq.
24                                           Attorney for Defendant,
25
                                             InboundProspect, Inc.

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      Case No.: 3:17-cv-02074-JAH-WVG      1 of 1          Bush v. InboundProspect, Inc.
                   JOINT MOTION AND STIPULATION FOR DISMISSAL OF ACTION
     Case 3:17-cv-02074-JAH-WVG Document 13 Filed 02/02/18 PageID.88 Page 3 of 3


                                   ECF CERTIFICATION
 1
 2
            I, Emily C. Beecham, hereby certify that the contents of this Joint Motion and
 3
      Stipulation for Dismissal of Action is acceptable to all parties signing this motion,
 4
      as required by the United States District Court for the Southern District of California
 5
      Electronic Case Filing Administrative Policies and Procedures.
 6
 7
      Date: February 2, 2018                  Respectfully Submitted,
 8
                                              KAZEROUNI LAW GROUP, APC
 9
10
                                              By: /s Emily C. Beecham
11                                                  Emily C. Beecham, Esq.
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      Case No.: 3:17-cv-02074-JAH-WVG                             Bush v. InboundProspect, Inc.
                                        ECF CERTIFICATION
